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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

   UNITED STATES OF AMERICA

   v.                                             CASE NO. 2:15-cr-146-FtM-99CM

   BRADLEY WES GAMBILL
   ____________________________________

                       PRELIMINARY ORDER OF FORFEITURE

          The United States moves, pursuant to 18 U.S.C. § 492, 28 U.S.C. § 2461(c),

   and Federal Rule of Criminal Procedure 32.2(b) for a preliminary order of forfeiture

   for a Canon all-in-one copier, scanner, printer.

          Being fully advised in the relevant facts, the Court finds as follows:

          The defendant has been found guilty of aiding and abetting the making of

   counterfeit currency, in violation of 18 U.S.C. § 471, as charged in Count One of

   the Indictment.

          The United States has established the requisite nexus between the

   defendant’s crime of conviction and the printer identified above. The government

   is now entitled to possession of the Canon all-in-one copier, scanner, printer

   pursuant to the provisions of 18 U.S.C. § 492, 28 U.S.C. § 2461(c), and Rule

   32.2(b)(2).

          Accordingly, it is ORDERED that the motion of the United States is

   GRANTED. Pursuant to 18 U.S.C. § 492, 28 U.S.C. § 2461(c), and Federal Rule

   of Criminal Procedure 32.2(b)(2), the Canon all-in-one copier, scanner, printer

   identified above is FORFEITED to the United States of America for disposition
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   according to law, subject to the provisions of 21 U.S.C. § 853, as incorporated by

   18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c).

          Pursuant to Rule 32.2(b)(4) and the defendant’s Plea Agreement (Doc. 141,

   p. 9), this order of forfeiture is final at the time it is entered.

          The Court retains jurisdiction to address any third party interest that may be

   asserted and to complete the forfeiture and disposition of the property.

          ORDERED in Fort Myers, Florida, on this 11th day of October, 2016.




   Copies to: All Parties\Counsel of Record




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